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                    Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


NATIONAL COALITION ON BLACK
CIVIC PARTICIPATION, MARY WINTER,
GENE STEINBERG, NANCY HART,
SARAH WOLFF, KAREN SLAVEN, KATE
KENNEDY, EDA DANIEL, and ANDREA
SFERES,                                             Civil Action No.: 20-cv-8668-VM

                   Plaintiffs,

       v.

JACOB WOHL, JACK BURKMAN, J.M.
BURKMAN & ASSOCIATES, LLC,
PROJECT 1599, and JOHN and JANE DOES
1-10,

                   Defendants.



                        PLAINTIFFS’ FIRST REQUEST FOR
                   PRODUCTION OF DOCUMENTS TO DEFENDANTS

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Local Rule 26 and

any other applicable rules or governing law (collectively, the “Applicable Rules”), Plaintiffs

National Coalition on Black Civic Participation, Mary Winter, Gene Steinberg, Nancy Hart, Sarah

Wolff, Karen Slaven, Kate Kennedy, Eda Daniel, and Andrea Sferes (collectively, “Plaintiffs”)

hereby demand, by and through their undersigned attorneys that Defendants Jacob Wohl, Jack

Burkman, J.M. Burkman & Associates, LLC, and Project 1599 (collectively, “Defendants”)

produce the documents described herein for inspection and copying at the offices of Orrick,

Herrington & Sutcliffe LLP, 51 West 52nd Street, New York, New York 10019, within 30 days,

or at such other time and place as may be mutually agreed, in the manner prescribed by the Federal

Rules and the Local Rules, and in accordance with the Definitions and Instructions set forth below.
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                                                              DEFINITIONS

          1.         All terms used in these Document Requests (the “Requests”), including but not

limited to the terms “document,” “communication,” “identify,” “person” and “concerning,” have

the broadest meaning accorded to them under Fed. R. Civ. P. 34 and Local Rule 26.3, and all

documents and information should be produced in accordance with the Applicable Rules.

          2.         “Action” shall mean the above-captioned action.

          3.         “Arlington Center for Political Intelligence” or “ACPI,” refers to the organization

previously referenced by Defendant Wohl, as well as all related entities.1

          4.         “Complaint” shall mean the Complaint, dated October 16, 2020, filed in this

Action.

          5.         “Defendants,” “you,” or “your,” shall mean Jacob Wohl, Jack Burkman, J.M.

Burkman & Associates LLC, and Project 1599, and, where applicable, their predecessors,

successors, assigns, subsidiaries, employees, managers, officers, agents, and/or representatives,

including without limitation any person(s) or entity(ies) presently or formerly acting or purporting

to act on their behalf.

          6.         “Message Communications” means Message Communications, Inc.

          7.         “Plaintiffs” shall mean Plaintiffs National Coalition on Black Civic Participation,

Mary Winter, Gene Steinberg, Nancy Hart, Sarah Wolff, Karen Slaven, Kate Kennedy, Eda

Daniel, and Andrew Sferes and, where applicable, their predecessors, successors, assigns,

subsidiaries, employees, managers, officers, agents, and/or representatives, including without




1
 See Manuel Roig-Franzia and Beth Reinhard, Meet the GOP Operatives Who Aim To Smear the 2020 Democrats – But Keep Bungling It,
Washington Post (June 4, 2019), available at https://www.washingtonpost.com/lifestyle/style/meet-the-gop-operatives-who-aim-to-smear-the-
2020-democrats--but-keep-bungling-it/2019/06/04/5b70f000-7691-11e9-bd25-c989555e7766_story.html.

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limitation any person(s) or entity(ies) presently or formerly acting or purporting to act on their

behalf.

          8.    “Political Action Committee” shall mean any organization that raises and spends

funds for the purpose of influencing an election.

          9.    The terms “Refer,” “Relate,” “Pertain,” “Reflect,” and all forms of these terms, shall

mean, without limitation, analyzing, concerning, consisting of, describing, discussing, embodying,

evidencing, identifying, including, pertaining to, memorializing, mentioning, naming, negating,

recording, reflecting, showing, supporting, summarizing, or having any logical or factual connection

with the matter discussed.

          10.   “Robocall” or “Robocalls” shall mean telephone calls, the transcript of which is set

forth in Paragraph 29 of the Complaint.

                                         INSTRUCTIONS

          1.    In responding to these Requests, you are required to produce all documents

described below that are in your possession, custody, or control.

          2.    Each Request is independent of any other Request, unless specifically noted, and

each Request is not meant to and does not limit or define any other Request.

          3.    For the purpose of reading, interpreting or construing the scope of these Requests,

the terms used shall be given their most expansive and inclusive interpretation.

          4.    Unless instructed otherwise, each Request shall be construed independently and not

by reference to any other Request for the purpose of limitation or exclusion, except that each

Request shall not be construed to call for documents that are called for by previous Requests.

          5.    If you withhold any document, or any portion of any document, under a claim of

privilege, immunity or protection, including the attorney-client privilege or work product doctrine,



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you shall provide a written privilege log that sets forth the information required by Rule 26 of the

Federal Rules of Civil Procedure and Rule 26.2 of the Local Civil Rules.

        6.        If information is redacted or otherwise withheld from a document produced in

response to a Request, you shall identify the redaction or otherwise withheld information by

stamping the word “Redacted” on the document at each place from which information has been

redacted or otherwise withheld and separately log each such redaction on the privilege log.

        7.        The documents must be produced in the format agreed to by the parties for

production of documents. If no such agreement on format exists at the time of production, the

documents must be produced as they are kept in the usual course of business or organized and

labeled to correspond with the Request number to which the documents are responsive.

        8.        If a copy of a requested document is not identical to any other copy of the same

document in your possession, custody or control, all non-identical copies shall be produced.

        9.        Unless otherwise indicated, these Requests pertain to the period of January 1, 2016

to the present.

                                     DOCUMENT REQUESTS

        1.        All Documents Concerning the genesis of Mr. Wohl and Mr. Burkman’s

relationship and association.

        2.        All Documents Concerning Mr. Burkman and Mr. Wohl’s political and advocacy

activities.

        3.        All Documents Concerning Defendants’ plan(s) or attempt(s) to interfere with or

otherwise affect the outcome of the 2020 election.

        4.        All Documents Concerning Defendants plan(s) or attempt(s) to interfere with or

otherwise affect the outcome of the 2016 election.



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       5.     All Documents Concerning Defendants’ “plot[s] . . . to discredit Democrats in the

2020 election with lies and other disinformation[,]” as previously stated by Defendant Wohl. See

Christal Hayes and Gus Garcia-Roberts, This is How Jacob Wohl Created a Sexual Harassment

Accusation   Against    Robert    Mueller, USA TODAY (Feb. 26,             2019), available at

https://www.usatoday.com/story/news/politics/2019/02/26/robert-mueller-hoax-how-jacob-wohl-

created-sexual-harassment-plot/2993799002/.

       6.     All Documents Concerning Project 1599, including, but not limited to:

              a.       All Documents Concerning the formation of Project 1599;

              b.       All Documents Concerning Defendants’ selection of the name “Project

                       1599” for their initiative, including all Documents Concerning other

                       possible names for their initiative;

              c.       All Documents Concerning the activities of Project 1599;

              d.       All Documents Concerning the finances of Project 1599, including, but not

                       limited to, income, expenditures, and donations;

              e.       All Documents Concerning personnel who worked, whether paid or not, for

                       Project 1599;

              f.       All Documents Concerning individuals and entities who provided support,

                       whether financial or otherwise, for Project 1599;

              g.       All Documents Concerning any filings with any regulatory agency,

                       including, but not limited to, the Federal Election Commission and the

                       Securities and Exchange Commission; and




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     h.     All Documents Concerning the promotion, marketing and advertising of

            and by Project 1599 regarding its activities and goals, including, but not

            limited to, mailing lists, subscriber lists, and donor lists.

7.   All Documents Concerning the Robocalls, including, but not limited to:

     a.     All Documents Concerning the conception and planning of the Robocalls,

            including Defendants’ intention for initiating the Robocalls;

     b.     All Documents Concerning the criteria, methodologies, and/or processes

            used to identify and select the telephone numbers that the Robocalls would

            be sent to;

     c.     All Documents Concerning the development of the Robocalls’ message and

            content, including but not limited to all information considered in

            developing the message and content of the Robocalls, regardless of whether

            such information ultimately was included in or omitted from the message

            and content of the Robocalls;

     d.     All Documents Concerning the selection of Robocall recipients, including

            but not limited to who the intended recipients were, where they resided, and

            why those areas or recipients were selected;

     e.     All Documents Concerning the telephone numbers of Robocall recipients,

            including but not limited to any Documents identifying whether a recipient

            telephone number is for a landline or wireless subscriber, as well as whether

            a recipient telephone number is on the federal Do Not Call registry;

     f.     All Communications between Defendants and any outside vendor or any

            other Persons Defendants interacted with for purposes of potentially hiring



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                      them in connection with the Robocalls, including, but not limited to

                      Message Communications and the person self-identified on the Robocall as

                      Tamika Taylor;

               g.     All Communications between Defendants and Robert Mahanian of Message

                      Communications;

               h.     All Communications with any other third parties regarding the Robocalls,

                      including but not limited to, Robocall recipients, advocacy groups, media

                      organizations, government officials, relatives of government officials,

                      agents of government entities, candidates for political office or agents of a

                      candidate’s political campaign, Political Action Committees, or Persons or

                      entities located outside the United States;

               i.     All Communications among and between any of the Defendants regarding

                      the Robocalls, the actual or intended recipients of the Robocalls, or any

                      desired or actual effect on the actual or intended recipients of the Robocall;

                      and

               j.     All Communications among and between any of the Defendants about

                      sending, attempting to send, or desiring to send Robocalls related to voting,

                      elections, candidates for elected office, or public officials prior to the

                      Robocalls.

       8.      All Documents Concerning the curative robocall ordered by the Court in this

Action, including, but not limited to, the selection of, and communications with, the vendor that

executed the curative robocall.




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       9.      All Documents Concerning any other attempts by Defendants to send additional

robocalls relating to the 2020 election.

       10.     All Documents Concerning any attempts (other than the Robocalls) by Defendants

to engage in direct mass communications with potential voters, including but not limited to online

advertisements, direct mail campaigns, TV or radio advertisements, billboard advertisements, call

campaigns, or live in-person events.

       11.     All Documents evidencing any payments made in connection with the Robocalls,

including but not limited to payments to the Person(s) hired by Defendants to deliver the Robocall

and the person self-identified as “Tamika Taylor” on the Robocalls.

       12.     All Documents Concerning the Defendants’ assertion that the “Statement [of the

Robocalls] does not target the Black community[,]” as claimed in your December 2, 2020 letter

filed with the court at ECF No. 62.

       13.     All Documents Concerning the Defendants’ assertion that the contents of the

Robocalls are not false and/or misleading, as claimed in your October 28, 2020 letter filed with

the Court at ECF No. 40.

       14.     All Documents Concerning any regulatory filings Mr. Burkman has made, or has

considered making, in connection with his status as a registered lobbyist.

       15.     All Documents Concerning any warnings, admonishments, investigations,

disciplinary proceedings, or punishments related to any regulatory body, including but not limited

to the Arizona Corporation Commission and the Securities and Exchange Commission.

       16.     All Documents Concerning any fundraising efforts Defendants undertook in

connection with the 2016 or 2020 elections.




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       17.      All Documents Concerning any financial contributions Defendants received in

connection with activities related to the 2016 or 2020 elections.

       18.      All Documents Concerning any funds that any Defendant received, from any

source, in response to the Robocalls.

       19.      All Documents Concerning the Arlington Center for Political Intelligence,

including, but not limited to:

             a. All Documents Concerning the formation of the Arlington Center for Political

                Intelligence;

             b. All Documents Concerning the Arlington Center for Political Intelligence plan;

             c. All Documents Concerning the activities of the Arlington Center for Political

                Intelligence, to the extent they relate to the 2020 election.

             d. All Documents Concerning any fundraising or pitches to potential investors in

                connection with the Arlington Center for Political Intelligence.

             e. All Documents Concerning the finances of the Arlington Center for Political

                Intelligence, such as income, expenditures, and donations;

             f. All Documents Concerning personnel and staffing of the Arlington Center for

                Political Intelligence; and

             g. All Documents Concerning the promotion, marketing and advertising of and by the

                Arlington Center for Political Intelligence regarding its activities and goals,

                including, but not limited to mailing lists, subscriber lists, donor lists.

       20.      All Documents produced by the government or Defendants in all criminal

proceedings commenced against Defendants Wohl and Burkman in connection with the Robocalls,

including but not limited to the following matters:



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            a. The criminal proceeding in the People of the State of Michigan v. Burkman and

               Wohl, No. 20-004637 FH (Wohl) 20-004636 FH (Burkman), (Mich.Cir.Ct., Wayne

               County 2021);

            b. The criminal proceeding in the State of Ohio v. Burkman and Wohl, No. 654013-

               20-CR (Ohio Criminal Division, Cuyahoga County, 2021); and

            c. New York Attorney General’s office subpoena in connection with the Robocalls.

      21.      All communications and documents exchanged with the Federal Communications

Commission concerning the Robocalls.




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Dated: March 9, 2021                  /s/ Julie Gorchkova
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                                      *Application Pro Hac Vice Forthcoming

                                      Counsel for Plaintiffs




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